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                  U N I T E D    S T A T E S B A N K R U P T C Y C O U R T
                                 CENTRAL DISTRICT OF CALIFORNIA

                                 NOTICE OF INTENT TO PAY CLAIMS

NOTICE IS HEREBY GIVEN TO DEBTOR(S) AND COUNSEL, IF ANY, THAT THE TRUSTEE INTENDS TO
PAY CLAIMS FILED BY THE CREDITORS LISTED BELOW UNLESS:
(1) OBJECTION IS MADE BY THE DEBTOR(S) OR ANY OTHER PARTY IN INTEREST; AND
(2) THE COURT ISSUES ITS ORDER DISALLOWING THE CLAIM.
   IN RE: JOSE L GRANADOS                       IN THE MATTER OF:
          VICTORIA ANN GUTIERREZ VAUGHN         JOSE L GRANADOS
                                                6158 ROYAL DIAMOND CT
          6158 ROYAL DIAMOND CT                 CORONA, CA 92880
          CORONA, CA 92880

                                                      DATE: 07/05/2023
                                                      Case No. 6:21-bk-15024-WJ
COURT                                     AMOUNT           AMOUNT                                   TEE
CLAIM#   CREDITOR NAME                 SCHEDULED         OF CLAIM                                  CLM#
                                                                    ACCOUNT CREDITOR CLASS
         ADVANCE AMERICA               $3,500.00        NOT FILED           UNSECURED                 1
         AMERIFIRS IMPR FIN/L          $9,764.00        NOT FILED      4902 UNSECURED                 2
         BANK OF AMERICA                 $307.00        NOT FILED      3793 UNSECURED                 3
         CAINE & WEINER                  $159.00        NOT FILED      5440 UNSECURED                 4
         CAINE & WEINER                  $377.07        NOT FILED      6970 UNSECURED                 5
         CAINE AND WEINER                $159.00        NOT FILED      4114 UNSECURED                 6
         CARE CREDIT                   $5,000.00        NOT FILED      4990 UNSECURED                 7
 01      CASHNET USA                   $5,008.25        $5,008.25      1039 UNSECURED                 8
         CEP AMERICA CALIFORN             $21.21        NOT FILED      8750 UNSECURED                 9
         CHASE CARD SERVICES             $809.00        NOT FILED      1798 UNSECURED                10
         CMRE FINANCIAL SERVI            $157.00        NOT FILED      4100 UNSECURED                11
         CONTINENTAL FINANCE              $44.00        NOT FILED      5683 UNSECURED                12
 04      RESURGENT CAPITAL SE            $517.00          $507.52      9568 UNSECURED                13
 02      RESURGENT CAPITAL SE             $57.00          $205.30      5872 UNSECURED                14
 03      RESURGENT CAPITAL SE              $8.00          $190.46      7673 UNSECURED                15
         CREDIT ONE BANK                   $8.39        NOT FILED      7670 UNSECURED                16
         EASTLINE LENDING              $3,500.00        NOT FILED           UNSECURED                17
         FINGERHUT                     $1,312.00        NOT FILED      9428 UNSECURED                18
         FIRST PREMIER BANK              $930.00        NOT FILED      6058 UNSECURED                19
         FIRST PREMIER BANK              $476.00        NOT FILED      9353 UNSECURED                20
         FOOTHILL PSYCHOLOGIC            $215.87        NOT FILED      0990 UNSECURED                21
 05      QUANTUM3 GROUP LLC               $99.00          $137.13      9467 UNSECURED                22
         GLOBAL GHLLC.COM              $3,600.00        NOT FILED      4211 UNSECURED                23
         GREEN PINE LENDING            $2,126.52        NOT FILED      8933 UNSECURED                24
         INSITE DIGESTIVE HEA            $149.21        NOT FILED      3663 UNSECURED                25
 09      JEFFERSON CAPITAL SY          $3,380.04        $3,330.04      5269 UNSECURED                26
         LABORATORY COPORATIO            $497.00        NOT FILED      1803 UNSECURED                27
 10      LOANME                        $9,450.88        $9,294.43      1749 UNSECURED                28
         MAKWA FINANCE                 $2,000.00        NOT FILED           UNSECURED                29
         MOUNTAIN SUMMIT FINA            $200.00        NOT FILED      1658 UNSECURED                30
         NATIONWIDE CREDIT               $106.80        NOT FILED      0820 UNSECURED                31
         OB GYN PLACE ARCADIA             $36.51        NOT FILED      5932 UNSECURED                32
 12      ONEMAIN                       $1,108.00        $1,170.06      6803 UNSECURED                33
         PREMIER FAMILY MEDIC             $13.30        NOT FILED      7215 UNSECURED                34
         PREMIER FAMILY MEDIC             $10.00        NOT FILED      3850 UNSECURED                35
         PREMIER FAMILY MEDIC             $20.00        NOT FILED      9424 UNSECURED                36
         PREMIER FAMILY MEDIC            $202.32        NOT FILED      6764 UNSECURED                37

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         PREMIER FAMILY MEDIC                    $13.30         NOT FILED       7215 UNSECURED              38
         RAUL AND REBECCA GUT                $25,200.00         NOT FILED            UNSECURED              39
         SPEEDYCASH                           $2,965.00         NOT FILED       4211 UNSECURED              40
 14      LVNV FUNDING LLC                     $1,753.00         $1,753.84       4998 UNSECURED              41
 15      JEFFERSON CAPITAL SY                   $299.00           $346.27       1475 UNSECURED              42
         TARGET CASH NOW                      $2,000.00         NOT FILED            UNSECURED              43
         THE LOAN SMITH                         $659.55         NOT FILED       6800 UNSECURED              44
         UCLA MEDICAL GROUP P                    $49.26         NOT FILED       7319 UNSECURED              45
 11      PINK DOGWOOD 13 LLC                  $5,857.00         $5,784.45       2367 UNSECURED              46
         UPGRADE, INC.                        $4,692.00         NOT FILED       6491 UNSECURED              47
         UPROVA CREDIT                          $300.00         NOT FILED       3894 UNSECURED              48
 13      UPSTART NETWORK                      $9,196.00         $9,890.30       7952 UNSECURED              49
         ZOCA LOANS                             $700.00         NOT FILED            UNSECURED              50
 06      PINK DOGWOOD 13 LLC              NOT SCHEDULED         $1,770.77       9989 UNSECURED              51
 07      PINK DOGWOOD 13 LLC              NOT SCHEDULED           $990.55       8735 UNSECURED              52
 08      PINK DOGWOOD 13 LLC              NOT SCHEDULED         $2,034.96       5918 UNSECURED              53
 18      CAPITAL ONE AUTO FIN              PAID OUTSIDE      PAID OUTSIDE       4709 SECURED                54
 17      ONEMAIN FINANCIAL GR               SURRENDERED       SURRENDERED       2484 SECURED                55
 16      REAL TIME RESOLUTION              PAID OUTSIDE      PAID OUTSIDE       8777 SECURED                56
 19      NEWREZ LLC                        PAID OUTSIDE      PAID OUTSIDE       4549 SECURED                57
         LOANME, INC.                     NOT SCHEDULED             $0.00       3018 UNSECURED              58
         LOANME, INC.                     NOT SCHEDULED      PAID OUTSIDE       3018 UNSECURED              58
 17      ONEMAIN FINANCIAL GR             NOT SCHEDULED        $16,271.11       2484 UNSECURED              59
         LAW OFFICES OF GILBE             NOT SCHEDULED             $0.00            ATTORNEY FEE - WJ      60
                                 TOTAL:     $109,013.48        $58,685.44

ABOVE "TOTALS" DO NOT INCLUDE "SURRENDERED" OR "PAID OUTSIDE" CLAIMS. IF YOU BELIEVE
YOU DO NOT OWE ONE OR MORE OF THE CLAIMS LISTED ABOVE, DO NOT CALL THE TRUSTEE, CALL
YOUR ATTORNEY. THE TRUSTEE CANNOT GIVE LEGAL ADVICE. IF YOU DO NOT TIMELY FILE AND
SERVE AN OBJECTION TO THE CLAIM(S) IN ACCORDANCE WITH BANKRUPTCY LAW, THE TRUSTEE IS
UNDER A COURT ORDER TO PAY ALL CLAIMS, EXCEPT THOSE LISTED AS "NOT FILED," "PAID
OUTSIDE" OR "NOTICE ONLY."




                                 DECLARATION RE VERIFICATION OF CLAIMS REGISTER

I declare under penalty of perjury as follows:

1. That I am a citizen of the United States of America, I am over the age of 18 years,
and not a party to the within matter.

2. I am employed by Rod Danielson, Chapter 13 Trustee in this case, and by virtue of
that employment I am qualified to identify and interpret the records and documents
typically prepared and maintained in the ordinary course of a Chapter 13 case.

Dated:    07/05/2023
                   VICTOR ZEPEDA
               Type or Print Name


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                                              PROOF OF SERVICE

      I declare under penalty of perjury that I am employed by Rod Danielson, Chapter 13
Trustee: I am over 18 years of age and I mailed copies of the Notice of Intent to Pay Claims,
and Declaration in support thereof, on the parties set forth below.

        JOSE L GRANADOS                                       LAW OFFICES OF GILBERT A
        6158 ROYAL DIAMOND CT                                 DIAZ, JR
        CORONA, CA 92880                                      3685 MAIN ST, STE 325
                                                              RIVERSIDE, CA 92501
Executed on 07/05/2023 at Riverside, California.


                 VICTOR ZEPEDA
              Type or Print Name




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